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                               UNITED STATES DISTRICT COURT
                               EASTERN DIVISION OF MICHIGAN
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                            CRIMINAL NO. 04-80857
               Plaintiff,
                                                            HON. LAWRENCE P. ZATKOFF
       v

CORNELL SMITH,

               Defendant.
                                          /

MICHAEL J. RIORDIAN (P 43980)
Assistant US Attorney
US Department of Justice
211 W Fort Street, #2001
Detroit, Michigan 48226
313/226.9602

SEYMOUR BERGER (P 10720)
Attorney for Defendant
24901 Northwestern Hwy, #513
Southfield, Michigan 48075
248/353.5131
                                          /

          ORDER EXTENDING THE SURRENDER DATE FOR
 CORNELL SMITH FROM FRIDAY JUNE 9, 2006 TO FRIDAY, JUNE 23, 2006


       The Parties having entered into a Stipulation to extend the time for Cornell Smith to

surrender himself to the Bureau of Prisons or the United States Marshals from Friday, June 9, 2006

to Friday, June 23, 2006, the same having been filed, and said Stipulation having been based on

the representations made by Seymour Berger, Defense Attorney for Cornell Smith, that the Bureau

of Prisons has not as yet designated a facility for Cornell Smith and said designation which is

subject to medical review with the Bureau of Prisons, is said to be determined any day; and this


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Honorable Court therefore deeming itself fully advised in the premises;

       NOW, THEREFORE:

       IT IS HEREBY ORDERED that Cornell Smith shall surrender himself to a designated Bureau

of Prison facility or the United States Marshal not later than FRIDAY, JUNE 23, 2006 BY 2:00 P.M.



                                                    s/Lawrence P. Zatkoff
                                                    HONORABLE LAWRENCE P. ZATKOFF
                                                    United States District Judge

DATED: June 9, 2006




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